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 John Rue (047032005)
 John Rue & Associates, LLC
 40 S. Fullerton Ave., Ste. 29
 Montclair, New Jersey 07042
 (862) 283-3155
                     UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY


M.A.,                                    )
                                         ) Civil Action No. 3:20-cv-05218
             Plaintiff,                  )
                                         )
v.
                                         )        CERTIFICATION OF
Wall Township Board of Education,        ) CATHERINE MERINO REISMAN
                                         )
             Defendant.                  )
                                         )

 I, Catherine Merino Reisman, of full age, hereby certify as follows:

        1.    I am an attorney at law, admitted to practice in the Commonwealth of

 Pennsylvania since 1989, the State of New Jersey since 2001, and the State of New

 York since 2018.

        2.    I am also admitted in the United States Supreme Court, United States

 Courts of Appeal for the Third, Second, Fifth, Sixth, Eighth, and Ninth Circuits, and

 the following United States District Courts: District of New Jersey, Eastern District

 of Pennsylvania, Middle District of Pennsylvania, Southern District of New York,

 Eastern District of New York, Northern District of New York, District of

 Connecticut, Southern District of Texas, and Western District of Tennessee
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       3.     I am a founding partner of Reisman Carolla Gran & Zuba LLP in

 Haddonfield, New Jersey.

       4.     I am a 1989 graduate of Yale Law School, where I served as a Note

 Editor on the Yale Law Journal, a founding member of the Yale Journal of Law and

 Feminism, and director of the Labor Law Project and Student-Funded Fellowships.

 I am a 1985 magna cum laude graduate of New York University.

       5.     I clerked for the Honorable Edward N. Cahn, Chief Judge of the United

 States District Court for the Eastern District of Pennsylvania from 1990 to 1991.

 From 1991 to 1999, I was an Associate at Willig, Williams & Davidson in

 Philadelphia, Pennsylvania, where my practice concentrated on civil rights and

 employment discrimination matters. From 1999 to 2001, I practiced part-time,

 working for myself. In 2001, I joined Montgomery McCracken Walker & Rhoads,

 LLP in Philadelphia, Pennsylvania.

       6.     I began practicing in the area of special education law in 1999. As an

 Of Counsel attorney at Montgomery McCracken, I co-chaired the Special Education

 practice group with one of one my current law firm partners, Amelia Carolla

       7.     In 2008, Ms. Carolla and I launched Reisman Carolla LLP, which is

 now Reisman Carolla Gran & Zuba LLP, where more than 90% of my practice has

 been in the area of representing individuals with disabilities in cases related to

 education and civil rights.



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       8.     Since 1999, I have represented dozens of children with disabilities and

 their families in education law and civil rights matters involving school districts

 throughout New Jersey, as well as in Southeastern and Central Pennsylvania, and in

 other states. In connection with my representation of families, I have attended

 Individualized Education Program meetings, negotiated settlements with school

 districts, written and filed complaints for Due Process Hearings with New Jersey’s

 Office of Administrative Law and the Commonwealth of Pennsylvania’s Office for

 Dispute Resolution, and participated in federal court litigation and appeals. I have

 appeared both in state due process hearings and in federal court, including the United

 States District Courts for the Eastern and Middle Districts of Pennsylvania, the

 District of New Jersey, the District of Nevada, the District of Connecticut, the

 Southern District of Texas, the District of Massachusetts, and the District of Nevada

 and the United States Courts of Appeals for the Third and Fifth Circuits. Some

 representative cases are: Sch. Dist. of Phila. v. Kirsch, 722 F. App’x 215 (3d Cir.

 2018); J.F., et al. v. S. Orange Maplewood Bd. of Educ., No. 19-2629 (3d Cir.);

 Lauren W. v. DeFlaminis, 480 F.3d 259 (3d Cir. 2007); S.D. v. Haddon Heights Bd.

 of Educ., 833 F.3d 389 (3d Cir. 2016), vacated and remanded by 137 S. Ct. 2121

 (2017), on remand, 722 F. App’x 119 (3d Cir. 2018); Rogich v. Clark Cnty. Sch.

 Dist., No. 17-cv-1541, 2021 U.S. Dist. LEXIS 197135 (D. Nev. Oct. 12, 2021); C.P.

 v. N.J. Dep’t of Educ., No. 19-12807, 2020 U.S. Dist. LEXIS 90150 (D.N.J. May



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 22, 2020); K.N. v. Gloucester City Bd. of Educ., 379 F. Supp. 3d 334 (D.N.J. 2019);

 Doe v. Westport Bd. of Educ., No. 18-cv-1683, 2020 U.S. Dist. LEXIS 202598 (D.

 Conn. Oct. 30, 2020); E.P. v. N. Arlington Bd. of Educ., No. 17-8195, 2019 U.S.

 Dist. LEXIS 55443 (D.N.J. Apr. 1, 2019); F.J., individually & o/b/o T.J. v.

 Education Plus Academy Charter Sch., No. 13-5026 (E.D. Pa. 2013); D.V. v.

 Pennsauken Sch. Dist., 247 F. Supp. 3d 464 (D.N.J. 2017); R.H. v. Bd. of Educ., 776

 F. App’x 719 (2d Cir. 2019); G.M. v. Brigantine Pub. Sch., No. 14-4606, 2015 U.S.

 Dist. LEXIS 73640 (D.N.J. June 8, 2015); H.H. et al. v. Pine Hill Bd. of Educ. No.

 17-5300 (D.N.J.); L.G. v. Winslow Twp. Bd. of Educ., No. 11-cv-2285 (D.N.J.). The

 following cases provide a sampling of administrative hearings I have handled: J.F.

 & D.J. o/b/o J.F. v. South Orange Maplewood Bd. of Educ., OAL Dkt. No. EDS

 08155-18 (NJ May 22, 2019); T.R. & P.R. o/b/o D.R. v. Matawan-Aberdeen Reg’l

 Bd. of Educ., OAL Dkt. No. EDS 06170-15 (NJ Aug. 30, 2016); P.A. v. Pennsbury

 Sch. Dist., ODR No. 15270-1415AS (PA March 2, 2015); T.J. v. Educ. Plus Acad.

 Cyber Charter Sch., ODR No. 13941-1213KE (PA Aug. 23, 2013); M.J. v. West

 Chester Area Sch. Dist., ODR No. 01634-10-11 (PA Mar. 15, 2011); M.M. v. Rose

 Tree Media Sch. Dist., ODR No. 01394-10-11 (PA Dec. 5, 2010); K.S. v.

 Wallingford-Swarthmore Sch. Dist., ODR No. 00579-09-10 (PA Aug. 30, 2010);

 M.C. v. Wallingford-Swarthmore Sch. Dist., ODR No. 9882-08-09 (PA Dec. 10,

 2009).



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       9.     I am active in the Council of Parent Attorneys and Advocates

 (COPAA), www.copaa.org, a national non-profit 501(c)(3) organization of

 attorneys, advocates, parents and professionals who are dedicated to protecting the

 special education and civil rights of children with disabilities throughout the United

 States. In March, 2008, I began to serve on the COPAA Board of Directors and

 continued as a Board member until March 2021. From 2011-2012, I was Chair of

 the COPAA Board.

       10.    Since March, 2008, I have served as Co-Chair of the COPAA Amicus

 Committee in which capacity I share in the responsibility for overseeing COPAA’s

 extensive practice as amicus curiae in cases in the United States Courts of Appeals

 and the United States Supreme Court. I have represented COPAA as an amicus in

 the Supreme Court in Perez v. Sturgis Pub. Sch., No. 21-887, Endrew F. v. Douglas

 County Sch. Dist. RE-1, 137 S. Ct. 988 (2017) and Fry v. Napoleon Community Sch.,

 137 S. Ct. 743 (2017). I have also represented COPAA in the following cases: J.P.

 v. Belton Pub. Schs., No. 21-3048 (8th Cir.); T.R. v. Sch. Dist. of Phila., 4 F.4th 179

 (3d Cir. 2021); Perez v. Sturgis Pub. Schs., 3 F.4th 236 (6th Cir. 2021); Minnetonka

 Pub. Schs. v. M.L.K., No. 21-1707 (8th Cir.); Richardson v. Omaha Sch. Dist., 957

 F.3d 869 (8th Cir. 2020); L.R. v. Camden City Pub. Sch. Dist., 238 N.J. 547 (2019);

 Indep. Sch. Dist. No. 283 v. E.M.D.H., 960 F.3d 1073 (8th Cir. 2020); Richardson v.

 Omaha Sch. Dist., 957 F.3d 869 (8th Cir. 2020); A.A. v. Northside Indep. Sch. Dist.,



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 951 F.3d 678 (5th Cir. 2020); Butte Sch. Dist. No. 1 v. C.S., 817 Fed. Appx. 321 (8th

 Cir. 2020); Rena C. v. Colonial Sch. Dist., 890 F.3d 404 (3d Cir. 2018); M.S. v.

 Hillsborough Twp. Pub. Sch. Dist., 793 F. App’x 91 (3d Cir. 2019); M.S. v. L.A.

 Unified Sch. Dist., 913 F.3d 119 (9th Cir. 2019); Lejeune G. v. Khepera Charter

 Sch., et al., 779 F. App’x 984 (3d Cir. 2019); W.A. v. Hendrick Hudson Cent. Sch.

 Dist., 927 F.3d 126 (2d Cir. 2019); F.C. v. Tenn. Dep’t of Educ., 745 F. App’x 605

 (6th Cir. 2018); Soto v. Clark Cnty. Sch. Dist., 744 F. App’x 529 (9th Cir. 2018); Bd.

 of Educ. v. C.M., 744 F. App’x 7 (2d Cir. 2018); Dallas Indep. Sch. Dist. v. Woody,

 865 F.3d 303 (5th Cir. 2017); D.G. v. New Caney Indep. Sch. Dist., 806 F.3d 310

 (5th Cir. 2015); J.K. v. Missoula Cnty. Pub. Sch., 813 F. App’x 666 (9th Cir. 2018);

 Quatro v. Tehachapi Unified Sch. Dist., 742 F. App’x 340 (9th Cir. 2018); Nicole B.

 v. Sch. Dist. of Phila., 237 A.3d 986 (Pa. 2020). In my capacity as co-chair of the

 Amicus Committee, I have participated in the drafting and filing of amicus briefs in

 the following cases: S.C. v. Lincoln Cnty. Sch. Dist., 16 F.4th 587 (9th Cir. 2021);

 D.S. v. Trumbull Bd. of Educ., 975 F.3d 152 (2d Cir. 2020); P.S. v. Pleasantville

 Union Free Sch. Dist., 168 A.D.3d 853 (N.Y. App. Div. 2019); Anchorage Sch. Dist.

 v. M.G., 735 F. App’x 441 (9th Cir. 2018); L.H. v. Hamilton Cnty. Bd. of Educ., 900

 F.3d 779 (6th Cir. 2018); Krawietz v. Galveston Indep. Sch. Dist., 900 F.3d 673 (5th

 Cir. 2018); S.P. v. E. Whittier City Sch. Dist., 735 F. App’x 320 (9th Cir. 2018); T.B.

 v. Prince George’s Cnty. Bd. of Educ., 897 F.3d 566 (4th Cir. 2018); J.M. v.



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 Matayoshi, 729 F. App’x 585 (9th Cir. 2018); I.Z.M. v. Rosemount-Apple Valley-

 Eagen Pub. Sch., 863 F.3d 966 (8th Cir. 2017); Doe v. Cape Elizabeth Sch. Dist.,

 832 F.3d 69 (1st Cir. 2016); In re Expulsion of A.D., 883 N.W.2d 251 (Minn. 2016);

 Timothy O. v. Paso Robles Sch. Dist., 822 F.3d 1105 (9th Cir. 2016); L.O. v. N.Y.C.

 Dep’t of Educ., 822 F.3d 95 (2d Cir. 2016); Se.H. v. Bd. of Educ. of Anne Arundel

 Cnty. Sch., 647 F. App’x 242 (4th Cir. 2016); B.D. v. Dist. of Columbia, 817 F.3d

 792 (D.C. Cir. 2016); A.G. v. Paradise Valley Unified Sch. Dist., 815 F.3d 1195 (9th

 Cir. 2016); Seth B. v. Orleans Parish Sch. Bd., 810 F.3d 961 (6th Cir. 2016); S.B. v.

 Bd. of Educ., 819 F.3d 69 (4th Cir. 2016); S.M. v. Gwinnett County Sch. Dist., 646

 F. App’x 743 (11th Cir. 2016); Price v. Dist. of Columbia, 792 F.3d 112 (D.C. Cir.

 2015); D.A. v. Meridian Jt. Sch. Dist. No. 2, 618 F. App’x 891 (9th Cir. 2015); T.F.

 v. Fox Chapel Sch. Dist., 589 F. App’x 594 (3d Cir. 2014); K.M. v. Tustin Unified

 Sch. Dist., 726 F.3d 1088 (9th Cir. 2013; J.T. v. Dumont Pub. Sch., 533 F. App’x 44

 (3d Cir. 2013); Long v. Murray County Sch. Dist., 522 F. App’x 576 (11th Cir.

 2013); Anchorage Sch. Dist. v. M.P., 698 F.3d 1047 (9th Cir. 2012); Phillip C. v.

 Jefferson County Bd. of Educ., 701 F.3d 691 (11th Cir. 2012); Dowler v. Clover Park

 Sch. Dist., 258 P.3d 676 (Wash. 2011); A.M. v. Monrovia Unified Sch. Dist., 627

 F.3d 773 (9th Cir. 2010); T.W. v. Sch. Bd., 610 F.3d 588 (11th Cir. 2010); Richardson

 Indep. Sch. Dist. v. Michael Z., 580 F.3d 286 (5th Cir. 2009).




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       11.    I speak regularly to groups of parents and attorneys regarding special

 education and the civil rights of individuals with disabilities. With the exception of

 2021, I have presented at the COPAA national conference every year since 2008. I

 present annually for COPAA’s new attorney training program. These presentations

 included the following topics: Section 504 and the ADA, litigating federal court

 special education appeals, transition planning under IDEA, legal issues relating to

 harassment and bullying, cross-examination of expert witnesses, planning direct and

 cross-examination in special education hearings, the impact of Endrew F. on

 litigation of special education cases, and exhaustion issues after Fry v. Napoleon. I

 have presented at the Lehigh Special Education Conference, the Pennsylvania Bar

 Association’s Exceptional Children’s Conference, New Jersey Institute for

 Continuing Legal Education, and to parent groups on extended school year and day

 services, charter schools and IDEA responsibilities, related services available under

 IDEA, rights under IDEA and Section 504/ADA, and persistent school non-

 attendance issues.

       12.    I regularly negotiate attorney’s fees in settling cases, have filed many

 fee petitions, and participate in setting billing rates for my firm. In connection with

 that work, I have had to familiarize myself with the customary billing rates for

 attorneys who concentrate their practice in special education law. As such, I have




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 contemporary and relevant knowledge of the fees customarily charged by attorneys

 in this field in New Jersey.

       13.      In 2022, the billing rates for Reisman Carolla Gran & Zuba attorneys

 are: Judith A. Gran (J.D. 1983) - $590 per hour; Catherine Reisman (J.D. 1989) -

 $565 per hour; Amelia Carolla (J.D. 2005) - $520 per hour; Sarah Zuba (J.D. 2002)

 - $460 per hour.

       14.      The rates for myself, Judith Gran, and Amelia Carolla are consistent

 with a 4% annual increase from rates approved by the Court in E.H. v. Wissahickon

 Sch. Dist., E.H. v. Wissahickon Sch. Dist., No. 2:19-cv-05445, 2020 U.S. Dist.

 LEXIS 199469 (E.D. Pa. Oct. 27, 2020). See Jada H. v. Rivera, 2019 U.S. Dist.

 LEXIS 94679 (E.D. Pa. June 6, 2019) (increase of 4% annually is reasonable). In

 E.H., the District did not contest the hourly rates of $525 per hour for me and $480

 for Amelia Carolla, 2020 U.S. Dist. LEXIS 199469 at *11, and the Court approved

 those hourly rates. The E.H. Court approved an hourly rate of $550 per hour for

 Judith Gran.

       15.      The rate for Sarah Zuba is consistent with a 4% annual increase from

 the 2017 rate of $385 per hour approved by the United States District Court for the

 Eastern District of Pennsylvania and affirmed by the Court of Appeals for the Third

 Circuit in Sch. Dist. of Phila. v. Kirsch, No. 14-4910, 2017 U.S. Dist. LEXIS 3907,




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 at *17 (E.D. Pa. Jan. 11, 2017), aff’d in relevant part, 722 F. App’x 215 (3d Cir.

 2018).

        16.    I am familiar with the work of John D. Rue, Esquire, as well as his law

 firm. Mr. Rue has an excellent reputation as a staunch advocate for children with

 disabilities. Mr. Rue is acting as lead counsel, until such time as the Court may

 certify the class and appoint class counsel, in C.P. v. New Jersey Dep’t of Educ., and

 I am co-counsel on that case. When I have difficult questions of law or strategy, Mr.

 Rue is one of the colleagues to whom I turn for advice. I therefore have personal

 familiarity with the breadth of his knowledge and experience, as well as his

 commitment to providing excellent representation to children with disabilities.

        17.    I have reviewed the biographies for the other attorneys whose fees are

 at issue. As co-counsel in C.P. v. New Jersey Dep’t of Educ., I have worked with

 Mr. Soutar, Ms. Quartarolo, and Mr. Thurston, and have first-hand knowledge of

 their legal abilities.

        18.    I have been asked to give my expert opinion in regard to the rates

 requested by John Rue and Associates, based on my education, training, and

 experience. Those rates are:

        •      John Rue (Principal): $495 per hour (admitted 2005)
        •      Donald Soutar (Partner): $485 per hour (admitted 1999)
        •      Robert Thurston (Of Counsel): $485 per hour (admitted 1988)
        •      Lisa Quartarolo (Counsel): $385 per hour (admitted 1998)
        •      Frank Geier (Associate): $385 per hour (admitted 2005)


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       •      Kenneth Walk (Associate): $275 per hour (admitted 2019)
       •      Latiah Griffin (Law Clerk): $220 per hour per hour
       •      Paralegal work (by whomever performed): $165 per hour

       19.    As an attorney practicing in this field, as a former attorney at a small

 labor, employment and civil rights firm and a mid-sized regional law firm in

 Philadelphia that had a Special Education Law practice group, I can state that the

 foregoing rates are reasonable, and     consistent with (and indeed lower than) the

 rates of attorneys in our region with similar levels of legal experience.   Therefore,

 in my estimation, these are reasonable hourly rates.

       I hereby certify that the foregoing statements made by me are true. I am
 aware that if any are willfully false, I am subject to punishment.

 Dated: January 14, 2022


                                        Catherine Merino Reisman, Esquire




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